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15                                   UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
17   IAN SMITH and MITCH JESERICH, on                           Case No. 4:19-cv-05398-JST
     behalf of themselves and all others similarly
18   situated,                                                  JOINT STIPULATED MOTION FOR
                                                                ADMINISTRATIVE RELIEF TO
19                    Plaintiffs,                               MODIFY SCHEDULING ORDER;
                                                                [PROPOSED] ORDER
20   v.
21   CITY OF OAKLAND, a public entity,
22                    Defendant.
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 1           Pursuant to Civil Local Rule 7-11, the Parties present this joint stipulated motion for

 2   administrative relief, and move the Court for entry of an order modifying the current scheduling

 3   order in this matter. The Parties met and conferred regarding these proposed schedule

 4   modifications via multiple emails, and via videoconference on January 23, 2024.

 5                                             I.       BACKGROUND

 6           On May 31, 2023, this Court issued a scheduling order pursuant to Federal Rule of Civil

 7   Procedure 16 and Civil Local Rule 16-10. (ECF No. 106). The current scheduling order outlines

 8   the following case deadlines, which Parties seek to modify:

 9                                    Event                            Deadline
10                    Fact discovery cut-off                    December 22, 2023
11
                      Expert disclosures                        December 22, 2023
12
                      Expert rebuttal                           February 9, 2024
13
                      Expert discovery cut-off                  March 8, 2024
14

15                    Dispositive motions:

16                            A. Plaintiff MSJ filing           April 5, 2024
                                 deadline
17
                              B. City MSJ/Opposition            April 26, 2024
18                               to Plaintiff

19                            C. Plaintiff Opposition to May 10, 2024
                                 MSJ/Reply
20                            D. City Reply Brief               None
21
                      Dispositive motion hearing                May 30, 2024 at 2:00 p.m.
22
                      Pretrial conference statement due July 26, 2024
23
                      Pretrial conference                       August 2, 2024 at 2:00 p.m.
24

25                    Trial                                     August 26, 2024 at 8:30 a.m.

26                    Estimate of trial length (in days)        Seven

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 1                                          II.      LEGAL STANDARD

 2           Civil Local Rule 16 states that a Scheduling Order “may be modified only for good cause

 3   and with the judge’s consent.” Fed. R. Civ. Proc. 16(b)(4). For purposes of the rule, “good

 4   cause” means the scheduling deadlines cannot be met despite the party’s diligence. Johnson v.

 5   Mammoth Recreation, Inc., 975 F.2d 604, 609 (9th Cir. 1992) (citing 6A Wright, Miller & Kane,

 6   Federal Practice and Procedure § 1522.1 at 231 (2d ed.1990)). “The pretrial schedule may be

 7   modified if it cannot reasonably be met despite the diligence of the party seeking the extension.

 8   If the party seeking the modification was not diligent, the inquiry should end and the motion to

 9   modify should not be granted.” Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir.

10   2002) (citation and internal quotation marks omitted). Courts often find good cause when the

11   motion to modify the scheduling order is based upon new and pertinent information. Lyon v. U.S.

12   Immigration & Customs Enf't, 308 F.R.D. 203, 216 (N.D. Cal. 2015).

13   III.     STIPULATED NEW AND PERTINENT INFORMATION SUPPORTING GOOD
                          CAUSE TO MODIFY SCHEDULING ORDER
14
             The Parties submit that the following information constitutes good cause for the
15
     scheduling order modifications proposed herein:
16
                  •   At the close of discovery on December 22, 2023, Defendant disclosed three new
17
                      fact witnesses. Plaintiffs wish to depose these three witnesses. The City has
18
                      agreed to make the witnesses available. However, deposing them will require an
19
                      extension of the current discovery deadlines.
20
                  •   Also on December 22, 2023, Plaintiffs produced new documents indicating that
21
                      Plaintiff Jeserich had searched for new housing following his last deposition, and
22
                      that Plaintiff Smith had moved since his last deposition. Defendant wishes to
23
                      depose Plaintiffs regarding these documents and their more recent searches for
24
                      rental housing. Plaintiffs have agreed to make themselves available for a
25
                      combined two hours of additional depositions (strictly limited to the subject of
26
                      their rental housing searches since 2020, any related moves, rent increases or
27
                      decreases, and accessibility or inaccessibility of any related housing). However,
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 1                    deposing them will require an extension of current discovery deadlines.

 2                •   During a meet and confer on January 23, 2024, Parties agreed to request a limited

 3                    reopening of fact discovery to 1) allow Plaintiffs to depose the three witnesses

 4                    identified by the City on December 22, 2023, 2) allow the City to reopen the

 5                    depositions of Plaintiff Jeserich and Plaintiff Smith for a combined total of two

 6                    hours (strictly limited to the subject of their rental housing searches since 2020,

 7                    any related moves, rent increases or decreases, and the accessibility or

 8                    inaccessibility of any related housing), 3) allow Plaintiffs to request any relevant

 9                    documents identified by the City's fact witnesses during depositions; and 4) for

10                    both Parties to further supplement discovery responses as necessary. However,

11                    because the fact discovery cut-off has passed, the Court must approve the Parties’

12                    requested modification to the scheduling order to allow this supplemental fact

13                    discovery.

14                •   On the December 22, 2023, deadline for expert disclosures, statistical expert Dr.

15                    Drogin submitted a joint report based on data provided by both Parties, as

16                    previously agreed. The City subsequently determined that it had no need of Dr.

17                    Drogin’s statistical expert services. Dr. Drogin is thus preparing a revised report

18                    as a Plaintiff-only statistical expert. However, because the expert disclosure

19                    deadline has passed, there must be a minor modification to the scheduling order to

20                    allow for this submission.

21                •   During a meet and confer on January 10, 2024, the Parties mutually disclosed that

22                    they plan to file cross-motions for summary judgment. The current scheduling

23                    order set deadlines for three briefs: dispositive motions due April 5, 2024,

24                    opposition due April 26, 2024, and reply due May 10, 2024. (ECF No. 106).

25                    However, the Court’s Standing Order states that when the parties file cross-

26                    motions for summary judgment, four briefs are required: opening brief by

27                    Plaintiff; opening/opposition by Defendant; opposition/reply by Plaintiff; and

28                    reply by Defendant. Tigar, J., Standing Order at ¶ I. The fourth brief must be filed

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 1                       at least 21 days before the hearing date, which is currently set for May 30, 2024.

 2                       Id. There is not enough time to add a fourth brief to the schedule and retain 21

 3                       days before the hearing date, and therefore the schedule must be modified to add

 4                       the fourth brief and continue the hearing date at least 21 days thereafter.

 5                 •     Plaintiffs’ rebuttal expert, retained after the current scheduling order was set, is

 6                       not available for the current trial date of August 26, 2024. In addition, in late

 7                       January of 2024, another of Plaintiffs’ experts informed Plaintiffs that he made a

 8                       mistake regarding his availability, and that he also cannot be available for the

 9                       current trial date. 1

10                 •     The Parties anticipate that the issues in this case will be significantly narrowed

11                       following the Court’s ruling on summary judgment. The modified schedule

12                       proposed herein will ensure that there is sufficient time between the dispositive

13                       motion hearing and date and the deadline for pretrial submissions for the Court to

14                       rule on dispositive motions, which will ensure that that the Parties do not waste

15                       time and resources preparing to try issues that will have already been decided. 2

16                 IV.       CONCLUSION AND [PROPOSED] MODIFIED SCHEDULE

17         Based on the above stipulation, the Parties respectfully request that the Court find there is

18   good cause to modify the current scheduling order, and to adopt the following proposed modified

19   schedule:

20                     Event                          Current Deadline                Proposed
21       Fact discovery cut-off 3                December 22, 2023             March 8, 2024
22
         Expert disclosures                      December 22, 2023             No Change
23

24   1
             The requested March 2025 trial date is the earliest that will work for all Parties. Plaintiffs
     and/or their experts have conflicts between September and December 2024, counsel for the City
25   currently has a trial set for January of 2025, and counsel for Plaintiffs have another trial currently
     set for February 2025.
26   2
             In addition, Plaintiffs believe there is a possibility that the Court’s ruling could lead to a
27   renewal of settlement discussions, potentially eliminating the need for trial entirely.
     3
             Fact discovery during this extended time will be limited as agreed during the Parties’
28   January 23, 2024 meet and confer, as described above.

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 1    Expert rebuttal/Dr. Drogin expert February 9, 2024                       February 23, 2024
      disclosure
 2
      Expert discovery cut-off                 March 8, 2024                   March 22, 2024
 3
      Dispositive motions:
 4

 5            A. Plaintiffs’ MSJ filing        April 5, 2024                   April 26, 2024
                 deadline
 6
              B. City MSJ/Opposition           April 26, 2024                  May 17, 2024
 7               to Plaintiffs due
              C. Plaintiffs’ Opposition        May 10, 2024                    June 7, 2024
 8
                 to MSJ/Reply due
 9            D. City Reply Brief due          None                            June 21, 2024
10                                             May 30, 2024 at 2:00            July 18, 2024 at 2:00 p.m.
      Dispositive motion hearing
11                                             p.m.
      Pretrial conference statement due July 26, 2024                          February 14, 2025
12

13    Pretrial conference                      August 2, 2024 at               February 21, 2025
                                               2:00 p.m.                       at 2:00 p.m.
14
      Trial                                    August 26, 2024 at              March 17, 2025
15                                                                             at 8:30 a.m.
                                               8:30 a.m.
16    Estimate of trial length (in days)       Seven                           No Change
17
     Respectfully Submitted,
18

19    Dated: January 29, 2024                                   DISABILITY RIGHTS ADVOCATES
20

21                                                              By: /s/ Sean Betouliere
                                                                   Sean Betouliere
22

23                                                              PUBLIC INTEREST LAW PROJECT
24

25                                                              By: /s/ Michael Rawson
                                                                   Michael Rawson
26
                                                                Counsel for Plaintiffs
27

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 1    Dated: January 29, 2024                                   CITY OF OAKLAND

 2
                                                                By: /s/ Kevin McLaughlin
 3                                                                  Kevin P. McLaughlin, Deputy City
                                                                    Attorney
 4
                                                                Counsel for Defendant City of Oakland
 5

 6

 7
     [PROPOSED] ORDER
 8

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10   PURSUANT TO THE ABOVE STIPULATION, IT IS SO ORDERED.
11

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14    Dated: January 31, 2024                                   By:
                                                                      The Honorable Jon S. Tigar
15                                                                    United States District Court
                                                                      Northern District of California
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